Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 1 of 26 Page ID #5936




                       IN THE UNITED STATES DISTRCT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS

  In re: PARAQUAT PRODUCTS
  LIBAILITY LITIGATION                                 Case No. 3:21-md-3004-NJR

  This Document Relates to:                               MDL No. 3004

  Fuller v. Syngenta AG, No. 3:21-cv-429
  Richter v. Syngenta AG, No. 3:21-cv-571
  Walkington v. Syngenta AG, No. 3:21-pq-601
  Marx v. Syngenta AG, No. 3:21-pq-1218
  Burgener v. Syngenta AG, No. 3:21-pq-1218
  Coward v. Syngenta AG, No. 3:21-pq-1560

    PLAINTIFFS’ RESPONSE TO DEFENDANTS’ PARTIAL MOTION TO STRIKE
                       WELLS REBUTTAL REPORT

                                       INTRODUCTION

        Defendants’ Introduction makes clear that their Motion is not a sincere attempt to strike

 the Rebuttal Report of Dr. Wells, but rather an untimely prelude to their forthcoming Daubert

 challenge. Defendants’ arguments are based on misstatements and mischaracterizations of the

 record. Where accurate, Defendants’ representations amount to form over substance. To be clear,

 Dr. Wells’s Original Report does not follow the formulaic format of the defense expert, Dominik

 Alexander. The approach reflects the difference between a tenured full-time college professor (Dr.

 Wells) and a professional witness (Dr. Alexander) who testified 58 times and, together with his

 full-time professional staff of two (2) and part-time staff of five (5), authored over 100 expert

 reports in 2020 alone. (Alexander dep. pp. 18, 46, attached hereto as Exhibit A).

        Defendants ignore the fact that Dr. Wells’s Rebuttal Report is structured to, and in fact

 does, respond to each of the specific critiques and/or assertions made by Defendants’ expert.

 Rebuttal reports of an expert have uniformly been held to be appropriate where they relate to the

 “same subject matter” identified in the expert report of their adversary.             Defendants



                                           Page 1 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 2 of 26 Page ID #5937




 mischaracterize the law to imply that any new or additional material in a rebuttal report should be

 stricken.

        Significantly, Defendants make no serious argument that they have been prejudiced by the

 Rebuttal Report of Dr. Wells. Their claim that they have been “deprived of any opportunity to

 scrutinize his work” ignores the 121-page report of their expert and the opportunity to take an

 additional deposition of Dr. Wells allowed by the Court’s scheduling order.            Ultimately,

 Defendants’ Motion to Strike is an attempt to focus the Court’s attention on Dr. Wells and away

 from the shortcomings of defense expert, Dominik Alexander. As will be demonstrated at the

 appropriate time, Dr. Alexander cherry picked the studies he would include and exclude from

 grouped analyses without providing a rationale for his selections. Although Defendants would

 obviously benefit from Plaintiffs’ inability to identify mischaracterizations and unsound opinions

 by Dominik Alexander, Defendants cannot credibly suggest that Plaintiffs be given no opportunity

 to do so through their expert. Dr. Alexander’s opinions will be addressed in Plaintiffs’ Daubert

 challenge – at the appropriate time, within the procedures established by the Court.

        Defendants make a gratuitous statement in the first sentence of the Background section of

 their Motion to Strike that cannot go unaddressed:

        As the Court knows, one of the key factual disputes in these cases is whether – as
        Plaintiffs claim but the EPA and all reputable sources have long denied – paraquat
        exposure can cause PD.

 (Doc. 3855, p. 3).

        Defendants are well aware of the falsity of this claim, because they have helped perpetuate

 it. A peer-reviewed article in the journal entitled Movement Disorders published last month

 articulated the causal association between paraquat and Parkinson’s disease:

        According to the Guardian, in 2009 the makers of paraquat were trying to determine
        if “the scientific community [will] conclude from the laboratory and

                                            Page 2 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 3 of 26 Page ID #5938




        epidemiological data that paraquat exposure is a causal factor [their emphasis] in
        Parkinson’s Disease or parkinsonism.” It appears that this is a conclusion the
        company did not want us Parkinson’s researchers to make. This report and the
        company’s own findings now indicate that we know what one cause of Parkinson’s
        disease is – paraquat. With this conclusion, paraquat should be banned, and the
        search for other causative factors in the environment should accelerate.

 Dorsey ER, M.D., et al., Paraquat, Parkinson’s Disease, and Agnotology. Movement Disorders

 (2023). DOI: 10.1002/mds.29371, found at https://doi.org/10.1002/mds.29371, *2, citing to

 Gillam C, Uteuova A. Secret files suggest chemical giant feared weedkiller’s link to Parkinson’s

 disease.   The     Guardian      2022;      [cited   2022    Dec     19].     Available      from:

 https://www.theguardian.com/us-news/2022/oct/20/syngenta-weedkiller-pesticide-parkinsons-

 disease-paraquat-documents. The Movement Disorders article goes on to explain the actions of

 the EPA and any delay in the scientific communities’ understanding of the causal connection

 between paraquat and Parkinson’s disease:

                Rather than remove this dangerous chemical from the market or develop a
        safer alternative, the company doubled down on its “blockbuster” product and
        sought to expand its use. Along the way, the company appeared to use techniques
        to underestimate the toxic effects of the chemical, hide the results of its own
        research from regulatory authorities, and discredit the research of an academic
        investigator and prevent her from serving on a U.S. Environmental Protection
        Agency (EPA) advisory panel....

                       * * * *

                The company’s alleged efforts seem to have worked brilliantly. Despite
        numerous animal and epidemiological studies linking the environmental toxicant
        to Parkinson’s disease, paraquat’s use in the United States from 2013 to 2018 more
        than doubled…Because of its health risks, over 30 countries – including China –
        have banned paraquat…

                       * * * *

        Knowledge of the toxic effects of paraquat is alleged to have been hidden for
        decades, and a credible academic researcher appears to have been prevented from
        highlighting the weedkiller’s true risks. All the while, the manufacturer continues
        to maintain that paraquat does not cause Parkinson’s disease. Actions like these



                                           Page 3 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 4 of 26 Page ID #5939




           should be recognized for what they are: attacks on science, attacks on scientists,
           and attacks on the health of the public…

 Dorsey, Paraquat, Parkinson’s Disease, and Agnotology, at *1.

           The Movement Disorders journal is the most recognized medical publication in the world

 on the topic of Parkinson’s disease. Defense expert, Dr. Warren Olanow, was the Co-Editor-in-

 Chief of that Journal from 2010 to 2015. The Movement Disorders journal is the publication of

 The International Parkinson and Movement Disorder Society. The Society is the most prestigious

 Parkinson’s disease medical organization in the world. Defense expert, Dr. Warren Olanow, is a

 past President, as is Plaintiff’s Expert, Dr. Anthony Lang.

           Consistent with what was published in Movement Disorders and The Guardian, discovery

 has revealed actions of Syngenta to improperly influence the scientific community and to hide the

 results of unfavorable internal studies. For example, Syngenta concealed the following:

          The existence of a 2003 policy mandating that paraquat not be measured in the brains of

           study animals because “any detection in the brain (no matter how small) will not be

           perceived externally in a positive light” (Botham dep. Exh. 293);1

          Three (3) studies between 2003-2005 where all found damage to the brains of paraquat-

           exposed mice in the exact location of damage considered a hallmark feature of Parkinson’s

           disease (Botham dep. Exhs. 262-265);

          That between 2006 and 2011, Syngenta improperly consulted and influenced the outcome

           of a paraquat/Parkinson’s disease study being funded by the British government and

           conducted by Exponent2 (Botham dep. Exh. 274-282);


 1
  Philip Botham was Syngenta’s 30(b)(6) witness whose deposition was taken by Plaintiffs on
 February 15-16, 2022.
 2
     Exponent was or is the employer of three of Defendants’ experts in this litigation.
                                              Page 4 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 5 of 26 Page ID #5940




        A successful, carefully hidden attack on the scientific integrity of a leading U.S. researcher

         to prevent her from being appointed to the EPA Science Panel in 2005 and again in 2010

         (Botham dep. Exhs. 250-258);

        A 2011 study of monkeys that found that eight weeks after exposure was stopped, the level

         of paraquat in the brain of every monkey was not decreasing (Botham dep. Exh. 207);

        A 2013 analysis of data from the Agricultural Health Study that found a 250% increase in

         the risk of Parkinson’s disease among workers occupationally exposed to paraquat

         (Botham dep. Exh. 272);

        That over the past 15 years, Syngenta has paid for, edited and controlled the content of

         more than a dozen scientific publications.

 All of these internal studies and behind the scenes actions were hidden from the public and

 scientific community and directly rebut Defendants’ gratuitous assertion.3

                               APPLICABLE LEGAL STANDARD

         Defendants statement of the law is misleading. They would have this Court believe that

 any new or additional material in a rebuttal report must be stricken. Defendants cite four (4) cases



 3
   This is not an exhaustive list of actions taken by Syngenta to conceal knowledge from the public
 and influence the scientific community. Also, the article in Movement Disorders is not the only
 statement supporting the association between paraquat and Parkinson’s disease. In 2016, Syngenta
 contributed to the publication of an article in the New York Times titled “A Pesticide Contradiction:
 Prohibited in Britain, but Made There for Export.” In addition to quoting Syngenta scientists, the
 article also quoted a renowned Parkinson’s disease researcher, Dr. Samuel M. Goldman: “‘The
 data is overwhelming’ linking paraquat and Parkinson’s disease, said Dr. Samuel M. Goldman,
 an epidemiologist in the San Francisco Veterans Affairs health system who has studied the
 connection.” A 2020 textbook titled, “Ending Parkinson’s Disease: A Prescription for Action”,
 Hachette UK, acknowledged the causal relationship between pesticides and Parkinson’s disease,
 highlighting the role of paraquat. One of its authors, Bastiaan R. Bleom, M.D. is currently the
 most highly published author in the world on the topic of Parkinson’s disease. (2020). In 2020,
 The Michael J. Fox Foundation for Parkinson’s Research filed a lawsuit against the EPA
 challenging their decision to allow the sale of paraquat in the United States.

                                             Page 5 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 6 of 26 Page ID #5941




 from the 7th Circuit to support their position. All are factually distinguishable. The issue before

 this Court is whether Dr. Wells’s Rebuttal Report is appropriate – a Rebuttal Report that was

 expressly provided for in the Court’s scheduling order. This situation can be contrasted with those

 in the cases Defendants cite as the “Legal Standard.” For example, Defendants cite the cases of

 United States v. Grintjes, 237 F.3d 876 (7th Cir. 2001), and Peals v. Terre Haute Police Dep’t.,

 535 F.3d 621 (7th Cir. 2008). Both cases involve fact rebuttal witnesses offered during criminal

 trials. Neither case even mentions the word expert, let alone expert rebuttal reports. Similarly,

 Defendants cite Braun v. Lorillard, Inc., 84 F.3d 230 (7th Cir. 1996) but again, this case has

 nothing to do with the issues here. In Braun, the Plaintiff attempted to call a fact witness that it

 did not identify until ten days before trial. Id. at 236. The Court did not allow the testimony during

 the case-in-chief, so the Plaintiff attempted to call the witness in rebuttal. Id. at 237. The court,

 understandably, held that even as a rebuttal witness the plaintiff failed the “good cause”

 requirement for late identification and further held that the witness was not proper for rebuttal. Id.

 Defendants also cite David v. Caterpillar, Inc., 324 F.3d 851 (7th 2003), for the proposition that

 when a party attempts to offer testimony under the guise of rebuttal that is actually offered only to

 support their case in chief that the “remedy of ‘exclusion is automatic and mandatory unless the

 sanctioned party can show that its violation … was either justified or harmless’.” (See Doc. 3855,

 p. 7). Critically, in David, the Court held that a witness who was not disclosed in Plaintiff’s Rule

 26(a) disclosures as “having evidence supportive of her claims” should not be allowed to testify at

 trial in support of Plaintiff’s claim unless the violation of Rule 26(a) was either “justified or

 harmless.” Id. at 856-57. The case offers no guidance to this Court in determining whether Dr.

 Wells’s Rebuttal Report was appropriate.




                                             Page 6 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 7 of 26 Page ID #5942




        While an expert rebuttal report must address the same subject matter as the report it

 critiques, contrary to Defendants’ assertion, limiting its analysis to only those methods from the

 expert’s original report would impose a restriction that is not provided for in the Rules. Ernst v.

 City of Chicago, 2013 U.S. Dist. LEXIS 127993 (N.D. Ill. Sept. 9, 2013), *5. If offered to

 contradict or rebut the other party’s report, an expert may introduce new methods of analysis in a

 rebuttal report. Id. Rebuttal reports can use, as well, additional data not found in the original report

 so long as it relates to the same subject matter. Id. See also City of Gary v. Shafer, 2009 U.S. Dist.

 LEXIS 41004 (N.D. Ind. May 13, 2009) at *14; Piercy v. Warkins, 2017 U.S. Dist. LEXIS 62552

 (N.D. Ill. Apr. 25, 2017).

        In Piercy, a case involving medical malpractice, the plaintiff’s expert opined both that the

 cause of the plaintiff’s bleeding could not be identified and that the defendants should have acted

 promptly to determine its cause. In response, the defendants offered the reports of several experts

 who claimed that the plaintiff likely suffered from an acute event resulting in significant blood

 loss. In rebuttal, the plaintiff’s experts opined that medical records of the plaintiff contained

 evidence “strongly suggestive of a gastric ulcer” as being the cause of the bleed. The defendants

 moved to strike the rebuttal reports, claiming that they were improper attempts to strengthen the

 plaintiff’s case-in-chief, abandoning their earlier opinion and offering new opinions based on a

 “change in methodology.” The court disagreed with the defendants’ characterization. Although

 the court acknowledged that the rebuttal report included a detailed description of medical records

 that was not included in the original report, it concluded that in adopting the “rebuttal” opinions,

 the plaintiff’s experts did not abandon earlier expressed opinions. Rather, according to the court,

 the new opinions bolstered the earlier opinions and explicitly contradicted the opinions offered by

 the defendants’ experts. 2017 U.S. Dist. LEXIS 62552 at *29-31.



                                              Page 7 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 8 of 26 Page ID #5943




          Rebuttal reports can additionally include evidence and analysis that the expert could have

 included in his original report. Bakov v. Consol. World Travel, Inc., 2019 U.S. Dist. LEXIS 46510,

 at *32-35 (N.D. Ill. Mar. 21, 2019). Like Chevron and Syngenta do here, the defendants in Bakov

 argued that a rebuttal expert’s report was improper because it contained “information that was

 required to be included in an initial expert report from Plaintiffs.” The Bakov court rejected that

 assertion, pointing out that the function of rebuttal evidence is “to contradict, impeach or defuse

 the impact of the evidence offered by an adverse party.” Id., citing Peals v. Terre Haute Police

 Dep’t, 535 F.3d 621, 630 (7th Cir. 2008). As the Bakov court stressed, “the focus is not on the

 similarity between the initial and rebuttal reports, but rather on whether the opinions expressed in

 a rebuttal report rebut the same subject matter identified in the other party’s expert report.” Bakov,

 citing Green v. Kubota Tractor Corp., 2012 U.S. Dist. LEXIS 56770, at *15 (N.D. Ill. Apr. 24,

 2012). The Bakov court further emphasized:

          Rule 26 does not automatically exclude evidence that an expert could have included
          in his original report as such a rule would lead to the inclusion of vast amounts of
          arguably irrelevant material in an expert’s report on the off chance that failing to
          include any information in anticipation of a particular criticism would forever bar
          the expert from later introducing relevant material.

 Id. at *34, citing City of Gary, 2009 U.S. Dist. LEXIS 41004 at *5. Finally, the Bakov court made

 clear that “the very purpose of a reply report [is] to refute a defendant’s expert’s arguments and to

 provide further support, rather than abandoning one’s initial opinions.” Bakov, 2019 U.S. Dist.

 LEXIS 46510, at *35; accord Kleen Prods. LLC v. Int’l Paper, 306 F.R.D. 585, 592 (N.D. Ill.

 2015).

          In Kleen, the plaintiffs filed a motion for class certification, attaching the reports of two

 experts who used one approach to calculate antitrust damages. 306 F.R.D. at *591-92. Thereafter

 the defendant filed an opposition to class certification, attaching the reports of its own experts –



                                              Page 8 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 9 of 26 Page ID #5944




 who criticized the methodology employed by plaintiffs’ experts. In a rebuttal report, the plaintiffs’

 expert performed the analyses that the defendants’ expert argued he should have done initially.

 The defendants moved to strike that rebuttal report as new. The court denied that motion – holding

 that “the very purpose of a reply [rebuttal] report [is] to refute a defendant’s expert’s arguments

 and to provide further support, rather than abandoning, one’s initial opinions.” Id., citing Sloan

 Valve Co. v. Zurn Indus., 2013 U.S. Dist. LEXIS 85897 (N.D. Ill. June 19, 2013).

         Sloan Valve Co. is similarly instructive. In that case involving patent infringement, the

 plaintiff’s expert calculated damages in his initial report based on a “weighted ratio” approach.

 The defense expert, in his opposition report, criticized plaintiffs’ expert for failing to employ an

 “unweighted ratio” approach. 2013 U.S. Dist. LEXIS 85897 at *4. In a rebuttal report, the

 plaintiffs’ expert included a new calculation of damages based on an unweighted ratio – as the

 defense expert suggested. The defendant moved to strike the rebuttal report on the grounds that it

 presented new arguments and opinions and further requested leave to have its own expert amend

 his own report. The Court denied the motion. With respect to the “unweighted ratio” calculation,

 the Court pointed out that plaintiffs’ expert was not abandoning his original calculation based on

 the “weighted ratio;” rather, he was providing an additional calculation to refute or defuse the

 criticisms of defendants’ expert. Id. at *10-11. Further, as the rebuttal report was found to be

 “responsive to” the report of defendant’s expert, the court denied the defendant’s request to offer

 a sur-rebuttal report. Id. at *11.4




 4
   The Court did grant a partial motion to strike a portion of the plaintiff expert’s rebuttal in which
 he performed a brand-new alternative calculation of collateral sales damage (neither included in
 the original report nor suggested by the opposition) using data that existed at the time of his original
 report. 2013 U.S. Dist. LEXIS 85897 at *10.
                                              Page 9 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 10 of 26 Page ID #5945




         The forgoing authorities are not unique. They all stand for the simple notion that the

  defense is not allowed to dictate how an opposing expert may disagree with them.

         The measure of proper rebuttal is not whether it offers support for arguments that
         could have been raised in the case-in-chief, but whether it directly refutes
         arguments offered by the opposition. … Rule 26 does not automatically exclude
         evidence that an expert could have included in his original report. … Consequently,
         the mere fact that opinions offered in a rebuttal report touch upon the same subjects
         covered in an initial expert report does not require that the rebuttal be stricken. …
         Indeed, rebuttal reports may cite new evidence and data so long as the new evidence
         and data is offered to directly contradict or rebut the opposing party’s expert. …
         Thus, when evaluating whether a proposed rebuttal report is appropriate, the focus
         is not on the similarity between the initial and rebuttal reports, but rather on whether
         the opinions expressed in a rebuttal report rebut the same subject matter identified
         in the other party’s expert report.

  Sonrai Sys. v. Romano, 2021 U.S. Dist. LEXIS 53362, at *15-23 (N.D. Ill. Mar. 22, 2021) (internal

  citations and quotations omitted). The Sonrai court went opinion by opinion through the rebuttal

  report, confirming, overwhelmingly, that the opinions addressed and were intended to “defuse”

  criticisms asserted by the defendants’ expert and were, accordingly, appropriate under the rules.

  Id. at 22-23. Finally, the court rejected the defendants’ invitation to consider the veracity and/or

  admissibility of the plaintiffs’ expert’s opinions – finding the Daubert-type challenge to be

  premature. Id. at *14. See also City of Gary, 2009 U.S. Dist. LEXIS 41004, at *14 (“Under this

  rule, [a rebuttal expert] is free to support his opinions with evidence not cited in … [the earlier]

  reports so long as he rebuts the ‘same subject matter’ identified in those reports.”).

         While a rebuttal report need not follow any particular format, in structuring a rebuttal, a

  useful approach for a judge (as well as the opposing party) would be to address the opposition

  expert’s points, either in sequence or by identifying them and critiquing them. Ernst, 2013 U.S.

  Dist. LEXIS 127993, at *10. “As it is often said in this circuit, judges are not like pigs, hunting

  for truffles in briefs.” Id., citing Gutierrez v. Kermon, 722 F.3d 1003, 1012 (7th Cir. 2013).




                                             Page 10 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 11 of 26 Page ID #5946




                                            ARGUMENT

         The law allows a rebuttal to include new materials and analyses that are intended to

  contradict, impeach or defuse the assertions of the opposing expert. Defendants’ Motion to Strike

  ignores the law and does little more than compare the Original Report and testimony of Dr. Wells

  with his Rebuttal Report. Defendants do so even though “the focus is not on the similarity between

  the initial and rebuttal reports, but rather on whether the opinions expressed in a rebuttal report

  rebut the same subject matter identified in the other party’s expert report.” Bakov, 2019 U.S. Dist.

  LEXIS 46510, at *32-35; Green, 2012 U.S. Dist. LEXIS 56770, at *15. Nowhere in Defendants’

  entire Motion do they claim that the Wells Rebuttal Report is outside the subject matter of their

  expert’s criticisms. Indeed, as was suggested as a useful approach in Ernst, 2013 U.S. Dist. LEXIS

  127993, at *10, in his Rebuttal Report, Dr. Wells identified each opinion and/or criticism of Dr.

  Alexander that he was responding to in an attempt to make it as easy as possible for the Court (and

  Defendants) to follow his analysis. The fact that Defendants have chosen to ignore what should

  undeniably have been the focus of their argument makes transparent the true purpose of their

  motion – an untimely attack on the credibility of Dr. Wells to set the stage for their Daubert

  challenge.

         Although Defendants’ point by point comparison of Dr. Wells’s Original Report, testimony

  and Rebuttal Report is a misguided exercise, Plaintiffs feel the need to respond to this poorly

  cloaked credibility attack.

  The “List” of Inclusion Criteria Contained In The Rebuttal Report Does Not Constitute A
  New Methodology That Should Be Stricken.

         The Defendants’ focus on form over substance is best illustrated by their loudest complaint.

  Defendants argue that Dr. Wells failed in his Original Report to enumerate the “inclusion criteria”

  he used to choose the studies he included in his meta-analysis and now, inappropriately listed such

                                            Page 11 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 12 of 26 Page ID #5947




  criteria in his Rebuttal Report.5 The facts of what actually occurred undermine the substance of

  this argument:

         Wells’s Original Report (10.13.22) (see Doc. 3855-2)

             o The first sentence stated “I, Martin T. Wells, Ph.D., have been asked by counsel for

                   the Plaintiffs to analyze the epidemiological evidence relating the association and

                   causation of the occupational exposure of paraquat to the onset of Parkinson’s

                   disease.” (Emphasis added).

             o His report thereafter stated, “I will also perform a quantitative synthesis of the

                   occupational case-control study findings.” (meta-analysis) (Emphasis added) (p.

                   7).

             o Thereafter, the report outlined a meta-analysis which included only studies of

                   occupational exposure, paraquat, Parkinson’s disease and case-control design.

         Defense expert Dominik Alexander report (1.20.23) (see Doc. 3855-4)

             o “Dr. Wells does not include any clear inclusion or exclusion criteria in his report”

                   outlining the studies he included in his meta-analysis. (p. 86).

             o …“[I]t was not possible for me to follow a clear set of inclusion/exclusion criteria.”

                   (p. 86).

         Wells’s Rebuttal Report (3.15.23) (see Doc. 3855-5)

             o “Although my report did not have a section titled ‘Inclusion/Exclusion Criteria,’

                   the fact that I only included studies of PD is obvious. The fact that I only included

                   studies relating to paraquat should have been obvious. The fact that I only included


  5
    A meta-analysis is a mathematical calculation of a pooled (single) odds ratio based on the
  combination of data from multiple epidemiologic studies. It is a commonly used tool by scientists
  in assessing the potential association between an exposure and a disease.
                                              Page 12 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 13 of 26 Page ID #5948




                 case-control studies in my meta-analysis was stated in my report and deposition.

                 The fact that I only included studies where an OR can be calculated should be

                 obvious.    Finally, the fact that I only chose studies involving “occupational

                 exposure” should be apparent from the opening sentence of my report.” (pp. 10-

                 11).

             o The Rebuttal Report also identified “inclusion criteria” as occupational, paraquat,

                 Parkinson’s disease, case-control and studies where an odds ratio can be

                 calculated “to address some of the misunderstandings of Dr. Alexander” outlined

                 “inclusion criteria” as occupational, paraquat, Parkinson’s disease, case-control

                 and studies where an odds ratio can be calculated.6 (pp. 10-11).

         The only difference between the Original Report of Dr. Wells and his Rebuttal Report is

  the title “Inclusion/Exclusion Criteria” – form only. Defendants’ assertion that they were in the

  dark as to Dr. Wells’s inclusion criteria and are now somehow prejudiced by his Rebuttal Report

  is disingenuous. Defendants are nonetheless claiming, and want the Court to believe, they were

  actually surprised that Dr. Wells included studies of paraquat in his analysis, or that he included

  studies of Parkinson’s disease or studies with sufficient data to calculate risk. Defendants not only

  claim that Dr. Wells’s Original Report failed to state his inclusion criteria, but they also claim he

  did not actually apply such criteria. (Doc. 3855, p. 2). Ironically, the inclusion criteria articulated

  by defense expert Dr. Alexander are similar to those used by Dr. Wells, differing only in the ability

  to combine studies of differing experimental design (e.g., combining case-control and cohort




  6
    The fact that Dr. Wells’s meta-analysis only included cases where an odds ratio could be
  calculated was not articulated in his Original Report, however, it should go without saying that
  only studies that provide the necessary data can be included in a meta-analysis. Dr. Alexander
  also did not list this criteria in his report. Rather, he makes mention of it in a footnote.
                                              Page 13 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 14 of 26 Page ID #5949




  studies in a single meta-analysis). (Alexander Rept. p. 24). The misleading nature of Defendants’

  Motion is revealed by their argument:

         “Indeed when asked if inclusion criteria were in his report, Wells admitted: ‘No.
         It’s not in there.’ Wells Dep. Tr. 113:9-114:1. For that reason alone, the new
         methodology is not proper rebuttal material and should be stricken and excluded.”

  (Doc. 3855, p. 9). To be clear, Dr. Wells was never asked whether his inclusion criteria were in

  his report. He was asked whether his report contained an “exhaustive list” of his criteria and he

  truthfully answered that there was no such list in his report. Though Defendants quote Dr. Wells’s

  answer in their Motion, they failed to include the question he was asked:7

         16ꞏ ꞏ ꞏ ꞏQꞏ ꞏ And my question was, did you give an
         17ꞏ exhaustive list of the different aspects of the
         18ꞏ studies that you used to decide whether they were
         19ꞏ in or out?
         20ꞏ ꞏ ꞏ ꞏ ꞏ ꞏ MR. KENNEDY:ꞏ I'm asking you to look at
         21ꞏ your report.ꞏ If she's asking an exhaustive
         22ꞏ report, please refer to your report.
         23ꞏ ꞏ ꞏ ꞏQꞏ ꞏ If you can point me in your report to a
         24ꞏ list of criteria for inclusion in your
         25ꞏ meta-analysis, I would love that.

         1ꞏ ꞏ ꞏ Aꞏ ꞏ No.ꞏ It's not in there.
         2ꞏ ꞏ ꞏ Qꞏ ꞏ Okay.
         3ꞏ ꞏ ꞏ Aꞏ ꞏ It's not in there.
         4ꞏ ꞏ ꞏ Qꞏ ꞏ Thank you.

  (Wells dep., attached hereto as Exhibit B, pp. 113:16-114:4).

         There has never been an issue that Dr. Wells’s Original Report did not contain a list under

  the heading “Inclusion Criteria.” This does not mean, however, that his criteria were non-existent

  or unknown. The only reason they were offered as a list in his Rebuttal Report was to specifically

  address the incorrect critique by Dr. Alexander.




  7
   While Defendants’ Motion failed to disclose the question asked Dr. Wells, it was disclosed in
  Exhibit A attached to Defendants’ Motion to Strike. (See Doc. 3855-1).
                                               Page 14 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 15 of 26 Page ID #5950




         The transparent nature of Defendants’ form over substance misdirection is no more

  apparent than when they complain three times and finally in bold letters for emphasis: “But

  neither the list of 36 nor the list of eight appears anywhere in Wells’ Original Report or

  testimony.” (Doc. 3855, pp. 9-10 (emphasis in original)). The 36 studies referenced are those

  epidemiology studies listed in Dr. Wells’s Rebuttal Report relating to paraquat exposure and

  Parkinson’s disease. Importantly, every one of the 36 studies was included in the list of Materials

  Considered attached to Dr. Well’s Original Report. Defendants do not argue that this list contains

  any studies it should not. Defendants do not argue that any relevant studies are missing from this

  list. In fact, using the same method of identifying only studies relating to paraquat and Parkinson’s

  disease, Defendants’ expert arrived at his own list of 32 studies, which are essentially the same

  studies that constitute the study list of Dr. Wells.8 The EPA 2019 review found 28 Parkinson’s

  disease/paraquat studies; and when adding the 2 studies published after 2019, their list includes 30

  studies. When considering the studies that are relevant to any analysis in this litigation, there is

  complete overlap. There is only one methodology that was used or could be used by Dr. Wells,

  Dr. Alexander and the EPA to arrive at essentially the same list of relevant studies – that being to

  identify studies relating to paraquat and Parkinson’s disease. It is inexplicable how Defendants

  could claim that Dr. Wells somehow used one method in his Original Report and a second in his

  Rebuttal Report, when there is only one method to reach the same result as Dr. Alexander, the

  EPA and Dr. Wells.

         Finally, contrary to the record, Defendants claim that Dr. Wells, without any “clear

  criteria”, “reached his conclusions by gerrymandering this selection of studies” to exclude Shrestha




  8
   The studies that represent the differences in the two lists are of no significance in either expert’s
  evaluation or meta-analysis.
                                             Page 15 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 16 of 26 Page ID #5951




  2020 from his analysis. (Id. at pp. 3,5). Shrestha 2020 is a cohort study. Dr. Wells combined only

  case-control studies in his meta-analysis. This was clearly articulated in his Original Report.

  (Wells Original Report, pp. 7, 17). It is the opinion of Dr. Wells that it is not appropriate to

  combine case-control studies and cohort studies in a single meta-analysis. This was unequivocally

  stated at his deposition. (Wells dep. tr. pp. 88, 90-93). Dr. Wells’s position is supported by Vaccari

  2019 where the authors stated that the results of their case-control studies were presented separate

  from the cohort study “due to their different experimental design.” (Id. at p. 189). Defendants’

  statement that Shrestha 2020 was excluded from Dr. Wells’s analysis without any “clear criteria”

  is untrue. Shrestha 2020 was expressly excluded from the case-control meta-analysis because it is

  a cohort study. While Dr. Alexander is free to disagree with Dr. Wells as to whether such studies

  should be combined into a single analysis, Defendants’ misstatement of the record should not be

  used to exclude the report of Dr. Wells.

          The list of inclusion criteria in Dr. Wells’s Rebuttal is not a “newly minted methodology”

  as claimed by Defendants. Defendants’ attack on the credibility of Dr. Wells is unwarranted and

  untimely. Importantly, Dr. Wells’s rebuttal is a direct response to the claim of Defendants’ expert

  that he had no inclusion criteria and, thus, under the applicable law should not be stricken. See,

  e.g., Piercy, 2017 U.S. Dist. LEXIS 62552; Bakov, 2019 U.S. Dist. LEXIS 46510. Importantly,

  Defendants do not even attempt to argue that Dr. Wells was not directly responding to the critique

  of their expert.

  The Description Of The Term “Occupational” Exposure Is A Direct Response To The
  Criticism Of Defendants’ Expert And Not New Evidence.

          One of the stated inclusion criteria used by Dr. Wells for his meta-analysis was whether

  the study addressed occupational exposure to paraquat. Defendants’ expert claimed that Dr. Wells

  did not define “occupational” in his report or deposition. (Alexander rept., p. 87). This litigation

                                             Page 16 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 17 of 26 Page ID #5952




  from its beginning has recognized the difference between occupational exposure and community

  exposure. Community exposure is exposure experienced by people who live near others who apply

  or use paraquat (i.e., “drift” cases). Defendants’ Motion claims that Dr. Wells never defined

  occupational exposure in his Original Report and should be barred from defining it in his Rebuttal

  Report. Dr. Wells, however, defined “occupational” by distinguishing it from “community

  exposure.” (Wells Original Report, p. 6). At his deposition, Dr. Wells testified that he excluded

  “community exposure” studies because they were not “occupational studies.” (Wells dep. p. 97).

         Defendants argue that during his deposition, Dr. Wells “…stated he looked at labels” to

  determine whether a study was occupational. Defendants support this claim by citing, but not

  quoting, deposition testimony that does not even use the word “label”:

          9ꞏ ꞏ ꞏ ꞏQꞏ ꞏ So do participants in these studies have
         10ꞏ to use paraquat as part of their job in order to
         11ꞏ be classified as occupational exposure?
         12ꞏ ꞏ ꞏ ꞏAꞏ ꞏ They -- there's different ways they
         13ꞏ classify what, you know, what their exposure was.
         14ꞏ And so they have criteria that are within --
         15ꞏ they're defined within the studies.ꞏ I'm using the
         16ꞏ criteria that are given in those studies.
         17ꞏ ꞏ ꞏ ꞏQꞏ ꞏ Okay.ꞏ So does exposure -- in order to
         18ꞏ be classified as occupational exposure, do the
         19ꞏ participants have to spray paraquat as part of
         20ꞏ their job?
         21ꞏ ꞏ ꞏ ꞏAꞏ ꞏ It -- I'm just using what the studies
         22ꞏ are defining. So the studies have a definition of
         23ꞏ what exposure is; I'm using the study's
         24ꞏ definition.
         25ꞏ ꞏ ꞏ ꞏQꞏ ꞏ And if the study does not require the

         ꞏ1ꞏ participants to be exposed to paraquat as part of
         ꞏ2ꞏ their job, would you have included this study in
         ꞏ3ꞏ your meta-analysis?
         ꞏ4ꞏ ꞏ ꞏ ꞏAꞏ ꞏ I included the -- I looked at the
         ꞏ5ꞏ studies that say they're occupational studies, and
         ꞏ6ꞏ I included those studies.

  (Wells dep. pp. 16:9-17:6 (emphasis added)).

                                            Page 17 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 18 of 26 Page ID #5953




         More significantly, Defendants cut off the very next question and answer in the deposition

  that makes clear that Dr. Wells was not relying on study titles or “labels” to determine whether a

  study was occupational:

         ꞏ7ꞏ ꞏ ꞏ ꞏQꞏ ꞏ So are you relying on the title of the
         ꞏ8ꞏ study?
         ꞏ9ꞏ ꞏ ꞏ ꞏAꞏ ꞏ No.ꞏ They have included criteria within
         10ꞏ the study.

  (Wells dep. p. 17:7-10 (emphasis added)).

         Defendants further distort Dr. Wells’s testimony by claiming that “he testified he would

  not consider a study that ‘includes both occupational and residential exposure’.” (Doc. 3855, p.

  12). Defendants support this claim by citing two (2) lines of deposition testimony and make no

  mention of the testimony that immediately followed and clarified his consideration of such studies:

         1ꞏ ꞏ ꞏ ꞏQꞏ ꞏ So if other researchers had classified a
         2ꞏ study as including both residential and
         3ꞏ occupational exposure, you would have excluded it
         4ꞏ from your meta-analysis, correct?
         5ꞏ ꞏ ꞏ ꞏAꞏ ꞏ Not necessarily.ꞏ I would look at -- Iꞏ
         6ꞏ would have to look at what the -- what the studies
         7ꞏ are.

  (Wells dep. p. 19:1-7 (emphasis added)). Dr. Wells did not exclude from his analysis studies that

  included both occupational and residential exposure as Defendants misrepresent. As evidenced

  by his complete testimony, he appropriately reviewed such studies to determine whether they

  should be included in his analysis.

         One such study was Liou 1997. This study involves both occupational and residential

  “use” of paraquat. The Syngenta sponsored study, Breckenridge 2016, categorized the Liou 1997

  study as a “use” study as did Dr. Wells when including it under the “occupational” umbrella. Liou

  is not a community exposure (i.e., “drift”) study. Defendants, through their expert, have attempted

  to reframe Dr. Wells’s own definition of the term “occupational” in order to argue that the Liou

                                            Page 18 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 19 of 26 Page ID #5954




  1997 study should not have been included in his meta-analysis. What is ironic is that the EPA 2019

  review of the paraquat epidemiologic studies that Defendants so heavily cite and rely upon,

  concluded that the Liou 1997 study was an “occupational” study and analyzed it as such. See

  United States Environmental Protective Agency Subject:          Paraquat Dichloride:     Systematic

  Review; June 26, 2019. Wray and Niman, p. 32. Defendants’ focus on the Liou 1997 study and

  the lengths their expert, Dominik Alexander, goes to eliminate Liou from the cherry-picked list of

  studies he analyzed is transparently borne out of the fact that Liou 1997 found a significant

  association between paraquat use and Parkinson’s disease.

          Defendants are critical of Dr. Wells because Liou 1997 makes a 74% contribution to Dr.

  Wells’s meta-analysis. First, the 74% figure was calculated by Dr. Wells and included in his

  report. It is not a qualitative assessment but rather a mathematical determination based upon data

  contained in the Liou 1997 study. What Defendants fail to disclose is that the Shrestha 2020 study,

  which Defendants’ expert improperly includes in his meta-analysis, contributes over 65% to his

  own outcome after irrationally removing Liou 1997 from his analysis. (Alexander Report, p. 99).

  Needless to say, this criticism of Dr. Wells has nothing to do with a court’s review of a motion to

  strike a rebuttal report.

          Significantly, Dr. Wells did not abandon or contradict his use of the term “occupational”

  in his Rebuttal Report. See generally Kleen, 306 F.R.D. at 592. What he did was clarify that the

  focus of his analysis was consistent with the focus of this litigation – the relationship between use

  of paraquat (as opposed to “drift”) and Parkinson’s disease. Again, Defendants do not even

  attempt to argue that Dr. Wells was not directly responding to the critique of their expert.




                                             Page 19 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 20 of 26 Page ID #5955




  The Quality Criteria Used By Dr. Wells To Evaluate Studies Is Not Newly Described In The
  Rebuttal Report.

            Defendants’ criticism of the Wells Rebuttal Report continues as an exercise of form over

  substance with Defendants again taking offense to the fact that the Wells Original Report did not

  provide a “list of criteria” that he used to evaluate the quality of studies while the Rebuttal Report

  does provide such a list. Defendants’ expert, Dr. Alexander, levies this criticism throughout his

  report.

            To be clear, Defendants are not critical of the quality criteria themselves; how they are

  defined or their application to the various studies – they simply wanted them in a list in the Original

  Report. Four of the five criteria outlined in the Wells Rebuttal Report were used by Defendants’

  expert in his analysis. The Wells criteria have significant overlap with the criteria used in the

  Breckenridge 2019, Vaccari 2019, Tangamornsuksan 2019, and the EPA 2019 studies of paraquat.

  The basic core of criteria used by epidemiologists to evaluate the quality of a study are well

  established.

            To bring context to Defendants’ complaint, Dr. Wells excluded only one (1) study from his

  meta-analysis based on the application of his quality criteria - and did not do so before assessing

  the impact of the study’s inclusion on the statistical heterogeneity on the analysis. His Original

  Report described in two (2) paragraphs his quality criticism and why he was excluding van der

  Mark 2014 from his meta-analysis. (Wells Original Report, pp. 15-16). The appendix to the

  Original Wells Report details each feature of the study that was criticized. At his deposition, Dr.

  Wells acknowledged the four (4) primary quality criteria that (along with statistical heterogeneity)

  led to the exclusion of the van der Mark study from his meta-analysis. (Wells dep. p. 254). There

  is no mystery as to what quality criteria Dr. Wells used to assess this study and ultimately, it was

  the only study excluded from his analysis.

                                              Page 20 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 21 of 26 Page ID #5956




          Defendants argue that Dr. Wells not only failed to disclose any criteria but “at his

  deposition, he disclaimed any specific criteria.” (Doc. 3855, p. 10). Unfortunately, once again,

  this assertion is false. During his deposition, Dr. Wells did not “disclaim” but, rather, identified

  all five (5) of the quality criteria that were made part of a list in his Rebuttal Report:

      1. Parkinson’s disease diagnostic criteria (Wells dep. pp. 107, 110-112, 321)

      2. Definition of controls (Wells dep. pp. 107, 112, 321)

      3. Adjustments for confounding (Wells dep. pp. 43-44, 277-280, 322)

      4. Exposure assessment (Wells dep. pp. 68, 107, 112, 321)

      5. Participation rates (Wells dep. pp. 246-247, 254, 322)

  Dr. Wells further testified that his quality criteria were established before he evaluated the studies

  and applied systematically to each study. (Wells dep. pp. 67, 100, 113, 263, 320-323).

          Defendants’ persistent criticisms of Dr. Wells because he described his quality assessment

  as “holistic” is difficult to comprehend. “Holistic,” as the term is commonly used, describes the

  process of looking at the “whole” or complete system. Dr. Wells undeniably looked at the “whole”

  of each epidemiological study in his quality evaluation. He considered five (5) different aspects

  of each study. This is no different than the method of defendants’ expert who considered eleven

  (11) or of Breckenridge 2016 that looked at three (3) or of the EPA that considered five (5) different

  aspects of each study to evaluate quality. The defendants play on the term “holistic” is a further

  example of their form over substance approach.

  Quality Comparison Between Tanner 2011 and Shrestha 2020 Was A Necessary Part of The
  Rebuttal Report Given The Far Reaching Significance Placed on Shrestha 2020 By
  Defendants’ Expert.

          Tanner 2011 is a case-control epidemiologic study that found a 250% increase in the risk

  of Parkinson’s disease among persons occupationally exposed to paraquat. It was conducted by



                                              Page 21 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 22 of 26 Page ID #5957




  Dr. Carlie Tanner, who is probably the most accomplished and respected Parkinson’s disease

  researcher in the world. It plays a significant role in the meta-analysis done by Dr. Wells.

         Shrestha 2020 is a cohort epidemiologic study whose study population significantly

  overlaps with that of Tanner 2011. As previously outlined, Shrestha 2020 was not included in Dr.

  Wells’s case-control meta-analysis because in Dr. Wells’s opinion, cohort studies should not be

  included in a case-control meta-analysis.

         The Rebuttal Report of Dr. Wells, however, outlines a detailed comparison between the

  quality of the Tanner 2011 and the Shrestha 2020 epidemiology studies. It is a direct response to

  the comparison of these two (2) studies done by Defendants’ expert. (Alexander rept., pp. 54-58,

  78, 80, 90-91, 93, 95). It is a direct response to the conclusion of Defendants’ expert that the

  Shrestha 2020 study is of higher quality than the Tanner 2011 study and as a result:

     1. Defendants’ expert concludes that the Tanner 2011 study should be removed from the

         Wells meta-analysis and replaced with Shrestha 2020, resulting in a significantly lower

         odds ratio. (Alexander rept., p. 93).

     2. Defendants’ expert concludes that Tanner 2011 should be removed from the meta-analysis

         done in Breckenridge 2016, Vaccari 2019, and Tangamornsuksan 2019 and replaced with

         Shrestha 2020, resulting in a significantly lower odds ratio. All three (3) of the above

         published meta-analyses found a statistically significant association between paraquat

         exposure and Parkinson’s disease;

     3. After replacing Tanner 2011 with Shrestha 2020, Defendants’ expert did six (6) different

         meta-analyses of his own (Alexander rept., pp. 96, 98-99, 101-102 and 108);

     4. After replacing Tanner 2011 with Shrestha 2020, Defendants’ expert conducted three (3)

         different regression analyses evaluating study quality, exposure type and exposure level.



                                              Page 22 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 23 of 26 Page ID #5958




         While Dr. Wells described both studies in some detail in his Original Report, there was no

  direct comparison between the quality of Tanner 2011 with that of Shrestha 2020. The two (2)

  studies were not competing for a spot in the Wells meta-analysis because Dr. Wells opined that

  case-control studies (Tanner 2011) should not be combined with cohort studies (Shrestha 2020) in

  a single meta-analysis. (Wells Original Rept., p. 7; Wells dep. p. 87-88). The choice of

  Defendants’ expert to combine such studies and to substitute Tanner 2011 with Shrestha 2020 in

  three (3) published meta-analyses and to create six (6) new meta-analyses and three (3) regression

  analyses using Shrestha 2020 instead of Tanner 2011 required rebuttal. Much of Dr. Wells’s

  discussion on this issue was not contained in his Original Report, but as set forth above, this does

  not form the basis to strike such analysis.

  Dr. Wells’s Rebuttal Report Did Not Offer New Arguments to His Bradford Hill Causation
  Analysis.

         A Bradford Hill analysis is the methodology used by Dr. Wells to assess causation. It is

  the most common and accepted method to address causation. Dr. Wells’s Bradford Hill analysis

  was a total of four (4) pages in his Original Report. It was never intended to represent the totality

  of his considerations.

         Defendant’s expert, Dr. Alexander, criticized Dr. Wells for studies he did not cite in his

  Bradford Hill analysis, claiming they were ignored. (Alexander rpt., pp. 7, 82). Dr. Alexander,

  however, did his own Bradford Hill analysis that only amounted to one page of his 121-page report.

  When confronted at his deposition regarding what he had left out of his analysis, Dr. Alexander

  replied that his entire review should be incorporated into his one-page Bradford Hill analysis.

  (Alexander dep., pp. 237-238).

         Dr. Wells’s Rebuttal Report simply followed the lead of Dr. Alexander and stated that his

  entire evidentiary analysis should be incorporated into his Bradford Hill analysis. (Wells Rebuttal

                                                Page 23 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 24 of 26 Page ID #5959




  Rept., p. 32). The fact that either Dr. Wells or Dr. Alexander would have to make such a

  clarification illustrates how far away from substance and into form Defendants have taken us.

  Again, Defendants do not even attempt to argue that this portion of Dr. Wells’s Rebuttal Report is

  outside the subject matter of Dr. Alexander’s critique. In fact, it is a direct response to a specific

  criticism of Dr. Alexander.9

                                             CONLUSION

         From start to finish, Defendants’ Motion to Strike is a comparison between the content of

  the Original Report, testimony and Rebuttal Report of Dr. Wells. This is not the necessary analysis

  to determine whether to strike a rebuttal report. Defendants’ utter failure to even remotely address

  whether the Rebuttal Report responds to the specific opinions and/or criticisms of their expert

  exposes the true nature of their Motion. Simply put, Defendants’ Motion is a merits brief that

  belongs as an attachment to their yet unfiled Daubert Motion. Defendants’ untimely attack on the

  credibility of Dr. Wells contains misstatements and mischaracterizations of the record. At best,

  Defendants’ attacks amount to form over substance. Although Defendants challenge is untimely

  and improper, Plaintiffs found it necessary to address these unwarranted claims.                 Left

  unchallenged, Plaintiffs risked starting the Daubert process at a disadvantage.

         For the foregoing reasons, the Court should deny Defendants’ Partial Motion to strike

  Rebuttal Report of Martin T. Wells (Doc. 3855).




  9
    Dr. Alexander was critical of the fact that none of the epidemiological studies took into account
  the prodromal period that precedes the manifestation of a movement disorder (e.g., tremor,
  bradykinesia, rigidity). (Alexander Dep., p. 107). The Rebuttal Report of Dr. Wells responds
  directly to this argument, citing the Rebuttal Report of Plaintiffs’ expert, Anthony Lang, M.D.
  (Wells Rebuttal, p. 33).
                                             Page 24 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 25 of 26 Page ID #5960




  Dated:   April 3, 2023                    Respectfully submitted,

                                            PLAINTIFFS’ CO-LEAD COUNSEL
                                            /s/ Sarah Shoemake Doles
                                            Sarah Shoemake Doles
                                            LEVIN, PAPANTONIO, RAFFERTY,
                                            PROCTOR, BUCHANAN, O’BRIEN,
                                            BARR & MOUGEY, P.A.
                                            316 South Baylen Street, Suite 600
                                            Pensacola, FL 32502
                                            Telephone: (850) 435-7011
                                            sdoles@levinlaw.com

                                            Khaldoun A. Baghdadi
                                            WALKUP, MELODIA, KELLY &
                                            SCHOENBERGER
                                            650 California Street, 26th Floor
                                            San Francisco, CA 94108
                                            Telephone: (415) 981-7210
                                            kbaghdadi@walkuplawoffice.com

                                            Peter J. Flowers
                                            MEYERS & FLOWERS, LLC
                                            225 West Wacker Drive, Suite 1515
                                            Chicago, IL 60606
                                            Telephone: (630) 232-6333
                                            pjf@meyers-flowers.com




                                  Page 25 of 26
Case 3:21-md-03004-NJR Document 3957 Filed 04/03/23 Page 26 of 26 Page ID #5961




                                  CERTIFICATE OF SERVICE
         I hereby certify that on April 3, 2023, I electronically filed the foregoing with the Clerk of

  Court using the CM/ECF system, which will send electronic notification of such filing to counsel

  of record.


                                                        /s/ Sarah Shoemake Doles
                                                        Sarah Shoemake Doles
                                                        LEVIN, PAPANTONIO, RAFFERTY,
                                                        PROCTOR, BUCHANAN, O’BRIEN,
                                                        BARR & MOUGEY, P.A.
                                                        316 South Baylen Street, Suite 600
                                                        Pensacola, FL 32502
                                                        Telephone: (850) 435-7011
                                                        Facsimile: (850) 436-6011
                                                        sdoles@levinlaw.com




                                            Page 26 of 26
